Case 2:04-cr-20256-.]P|\/| Document 146 Filed 06/03/05 Pagelon Pagel 199

 
 

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UN|TED STATES OF AN|ER|CA,
P|aintif‘f,
VS. Cr. NO. 04~20256-[\/|1

AR|C BADY, SR.

~.,_/~._,,/-__z'~__/-._/-._/`._/\-.../\_/

Defendant,

ORDER GRANT|NG GOVERNMENT’S ORAL NlOT|ON
TO DISM|SS THE OR|G|NAL |ND|CTMENT AND
COUNT 7 OF THE SUPERSED|NG |ND|CTMENT
This cause came to be heard before the court at the sentencing hearing held this
date upon the oral motion of counsel forthe United States to dismiss the original indictment
and count 7 of the superseding indictment in this case as to defendant Aric Bady, Sr., and
it appears to the Court that the plea agreement in this case having been accepted and

sentence imposed on count 1 of the superseding indictment, the governments motion is

Well taken and should be granted.

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W(lr@

JO PH|PPS MCCALLA
U ited States District Judge

 

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Honorable J on McCalla
US DISTRICT COURT

